  1   McGuireWoods LLP
      Todd J. Dressel (S.B. No. 220812)
  2   Ethan Schatz (S.B. No. 257919)
      Two Embarcadero Center
  3   Suite 1300
      San Francisco, CA 94111-3821
  4   Telephone: (415) 844-9944
      Facsimile: (415) 844-9922
  5   TDressel@mcguirewoods.com

  6
      Attorneys for Creditor WELLS FARGO BANK, N.A.
  7

  8                             UNITED STATES BANKRUPTCY COURT

  9                             NORTHERN DISTRICT OF CALIFORNIA

 10                                       SAN JOSE DIVISION

 11   In re                                        Case No. 17-50307 MEH
                                                   R.S. No. TJD-001
 12   BEAMREACH SOLAR, INC.,
                                                   Chapter 7
 13                          Debtor.               Hon. M. Elaine Hammond

 14                                                NOTICE OF HEARING ON MOTION FOR
                                                   RELIEF FROM AUTOMATIC STAY
 15                                                Hearing:
                                                   Date: April 21, 2017
 16                                                Time: 10:00 a.m.
                                                   Place: Courtroom 3020
 17                                                       280 South First Street
                                                          San Jose, CA 95113-3099
 18

 19
              TO   THE    HONORABLE          M.    ELAINE     HAMMOND,         UNITED    STATES
 20   BANKRUPTCY COURT JUDGE, THE DEBTOR, DEBTOR’S COUNSEL, THE
 21   TRUSTEE, AND OTHER INTERESTED PARTIES:

 22           PLEASE TAKE NOTICE that Wells Fargo Bank, N.A. (“Wells Fargo”) has filed a

 23   Motion for Relief from Automatic Stay (the “Motion”) in the above-captioned matter. The

      Motion will be heard before the Honorable M. Elaine Hammond on April 21, 2017, at 10:00
 24



Case: 17-50307     Doc# 25     Filed: 03/30/17    Entered: 03/30/17 14:34:05    Page 1 of 2
  1
      a.m., in Courtroom 3020, at the United States Bankruptcy Court located at 280 South First Street,
  2   San Jose, CA 95113-3099.
  3           The Motion is based upon the Memorandum of Points & Authorities attached to the

  4   Motion and the Declaration of Victor Choi and Relief from Stay Cover Sheet filed in support of

      the Motion, as well as other evidence attached thereto in support of the Motion.
  5
              Pursuant to Local Bankruptcy Rule 4001-1(c), Wells Fargo has filed and served its
  6
      Motion with at least fourteen (14) calendar days prior to the hearing date. Respondents opposing
  7
      the Motion shall appear personally or by counsel at the preliminary hearing. A respondent will
  8
      not be required to, but may, file responsive pleadings, points and authorities, and declarations for
  9   any preliminary hearing.

 10           If no response or appearance is made in opposition to the relief requested in the Motion,

 11   the Court may grant the requested relief without further hearing.

      Dated: March 30, 2017
 12
                                                         MCGUIREWOODS LLP
 13
                                                         By:/s/ Todd J. Dressel_________________
 14                                                              Todd J. Dressel
                                                                 Counsel to Wells Fargo Bank, N.A.
 15

 16

 17

 18

 19

 20
      88364108_2

 21

 22

 23

 24



Case: 17-50307     Doc# 25       Filed: 03/30/17   Entered:
                                                     -2-    03/30/17 14:34:05        Page 2 of 2
      NOTICE OF MOTION FOR RELIEF FROM AUTOMATIC STAY
